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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 23, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                          Debtor.                      §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                          Plaintiff,                   §   Adversary Proceeding No.
                                                                       §
         vs.                                                           §   21-03006-sgj
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT                                   §
         SERVICES, INC.,                                               §
                                                                       §
                                          Defendant.

                   ORDER GRANTING DEBTOR’S UNOPPOSED MOTION FOR LEAVE
                          TO SERVE AND FILE AMENDED COMPLAINT

                  Before the Court is the Debtor’s Unopposed Motion for Leave to Serve and File Amended



     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

     DOCS_NY:42921.2 36027/002
     DOCS_NY:43869.1 36027/002
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 Complaint [Docket No. 60] (the “Motion”), filed by Highland Capital Management L.P, the debtor

 and debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

 Case”) and the plaintiff in the above-captioned adversary proceeding (the “Adversary

 Proceeding”), requesting leave to file its Amended Complaint for (I) Breach of Contract, (II)

 Turnover of Property, (III) Fraudulent Transfer, and (IV) Breach of Fiduciary Duty (the

 “Amended Complaint”), attached to the Motion as Exhibit B. Having considered the (i) Motion

 and the arguments set forth therein, (ii) the Amended Complaint annexed to the Motion, and (iii)

 the Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues, attached to

 the Motion as Exhibit C; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

 §§ 157 and 1334; and this Court having found that venue is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and this Court having found that the Debtor’s notice of the Motion and opportunity for

 a hearing on the Motion were appropriate under the circumstances and that no other notice need

 be provided; and this Court having determined that the legal and factual bases set forth in the

 Motion establish good cause for the relief granted herein; and upon all of the proceedings had

 before this Court; and after due deliberation and sufficient cause appearing therefor and for the

 reasons set forth in the record on this Motion, it is HEREBY ORDERED THAT:

         1.       The Motion is GRANTED as set forth herein.

         2.       The Debtor is deemed to have served the Amended Complaint on the defendant on

 July 13, 2021, the Service Date (as defined in the Motion).

         3.       The Debtor is hereby granted leave to file its Amended Complaint.

         4.       This Court shall retain jurisdiction with respect to all matters arising from or

 relating to the implementation, interpretation, and enforcement of this Order.

                                     ### END OF ORDER ###



                                                  2
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03006-sgj
Highland Capital Management Services, In,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 23, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 25, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 25, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Aug 23, 2021                                           Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 23, 2021 at the address(es) listed
below:
Name                             Email Address
Deborah Rose Deitsch-Perez
                                 on behalf of Defendant Highland Capital Management Services Inc. deborah.deitschperez@stinson.com,
                                 patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                 matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                 ey@sidley.com

Michael P. Aigen
                                 on behalf of Defendant Highland Capital Management Services Inc. michael.aigen@stinson.com, stephanie.gratt@stinson.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 6
